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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF LOUISIANA

BRANDON BOULLION, ET AL * CIVIL ACTION:
* 2:11-cv-923
Plaintiffs #
* MDL 10-2179 J (1)
VERSUS ‘fe
* JUDGE: BARBIER
ANADARKO PETROLEUM CORPORATION, *
ET AL * MAGISTRATE:
Defendants * SHUSHAN
AFFIDAVIT OF SERVICE OF PROCESS--LONG ARM SERVICE
STATE OF LOUISIANA
PARISH OF LIVINGSTON

Before me, the undersigned Notary Public, personally came and appeared:
COURTNEY 8. DAUGHERTY
who first being duly sworn, deposed, and said: That affiant is Paralegal to ROBB

REECH; that affiant received a true copy of the attached Citation and Petition on June 21, 2011
and mailed the same, by certified mail, to the defendant, Transocean, Lid., 4 Greenway Plaza,
Houston, TX 77046, on June 22, 2011; that the same was delivered to the defendant on June 27,

2011; as more fully appears from the attached post office return receipt for certified mail number

7010 1670 0002 5530 5499.

Sworn to and subscribed before me on the

2011,

ROBERT V. REECH, LSBA # 23268
NOTARY PUBLIC
